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                            LINDA KELEMER
                        8
                        9                          UNITED STATES DISTRICT COURT
                       10                        CENTRAL DISTRICT OF CALIFORNIA
                       11
                            LINDA KELEMER, an individual,                  Case No. ______________________
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                       12
                                                 Plaintiff,                COMPLAINT FOR PATENT
                       13                                                  INFRINGEMENT
                       14   vs.
                                                                           JURY TRIAL DEMANDED
                       15   WALMART INC., a Delaware
                       16   corporation,

                       17                        Defendant.

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                       23         Plaintiff Linda Kelemer (“Kelemer”) alleges against Defendant Walmart Inc.
                       24   (“Walmart” or “Defendant”), as follows:
                       25         1.       This is an action for willful infringement of design patents in violation
                       26   of the Patent Laws of the United States, as set forth in 35 U.S.C. §§ 271 and 280
                       27   through 285.
                       28         2.       For the past 13 years, Kelemer has engaged in designing, developing,
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                        1   and marketing various furniture embodying unique designs. Among other things,
                        2   Kelemer developed designs and concepts for foldable chairs in the classic Parsons
                        3   style, which in the past were sold by major retailers such as Bed, Bath & Beyond.
                        4   Two of her furniture designs are protected under United States Patent No. D637,416
                        5   (the “’416 Patent”) and United States Patent No. D630,449 (the “’449 Patent”).
                        6         3.     A true and correct copy of the’416 Patent is attached hereto as Exhibit
                        7   A.
                        8         4.     A true and correct copy of the ’449 Patent is attached hereto as Exhibit
                        9   B.
                       10         5.     Both the ’416 and ’449 describe and claim a unique design for foldable
                       11   chairs in the classic Parsons style. Among other things, the ’416 Patent describes
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                       12   and claims a foldable chair with a completely upholstered back which runs flush to
                       13   the seat, slightly beveled legs, and sleek, angular cushions. The’449 Patent describes
                       14   and claims a similar foldable Parsons-style chair with a larger gap between the back
                       15   cushion and seat cushion.
                       16         6.     Kelemer caused embodiments of the ’416 and ’449 Patents to be
                       17   manufactured, and presented those embodiments at various tradeshows and in trade
                       18   periodicals with the intent of selling her foldable furniture at major “big box”
                       19   retailers. In her various presentations and marketing materials to retailers, Kelemer
                       20   advised potential customers that the foldable furniture was patented.
                       21         7.     In 2009, Kelemer began to supply foldable chairs embodying the ’416
                       22   and ’449 Patents to Bed, Bath & Beyond in substantial numbers. Eventually,
                       23   however, that relationship ended and Kelemer was no longer used as a supplier.
                       24         8.     In or around July of 2017, Kelemer discovered that Defendant was
                       25   selling foldable chairs embodying the ’416 and ’449 Patents.
                       26                                        PARTIES
                       27         9.     Kelemer is an individual residing in the State of California, County of
                       28   Los Angeles.
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                        1         10.    Walmart is a Delaware corporation with a principal place of business at
                        2   702 S.W. 8th Street, Bentonville, Arkansas 72716.
                        3                             JURISDICTION AND VENUE
                        4         11.    This Court has jurisdiction over the subject matter of this action
                        5   pursuant to 28 U.S.C. §§ 1331 and 1338(a), as this action involves substantial claims
                        6   arising under the Patent Laws of the United States.
                        7         12.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b),
                        8   1391(c), and 1400(b) because Defendant has and is marketing, selling, and offering
                        9   to sell foldable chairs embodying the designs described and claimed in the ’416 and
                       10   ’449 Patents and is conducting other business in this judicial district.
                       11           ALLEGATIONS COMMON TO ALL CALIMS FOR RELIEF
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                       12   A.    KELEMER’S PRESENTATION AND DISCLOSURE OF THE PATENTED
                       13         DESIGNS TO DEFENDANT.
                       14         13.    In or about February of 2009, Kelemer was inspired to create foldable
                       15   chairs with an elegant design that would fit in seamlessly among, and aesthetically
                       16   match, furniture permanently kept in the home, while combining the compactness
                       17   and portability of foldable furniture. Her idea was to create foldable chairs in the
                       18   well-known Parsons style, with a modernist design that is compatible with other
                       19   styles of furniture but deviates substantially from the cheap-looking and utilitarian
                       20   designs of foldable chairs which were then on the market. She designed the
                       21   respective foldable chairs accordingly: the backs and sides are completely
                       22   upholstered; the back legs are curved and slightly tapered; and the seat and back
                       23   cushions are angled and beveled.
                       24         14.    Starting in 2009, through her affiliates, Kelemer made and sold
                       25   products embodying the ’416 and ’449 Patents. Marketing materials for those
                       26   products were identified with one or more of the numbers of the patents-in-suit.
                       27         15.    On August 12, 2011, Kelemer or her representatives presented products
                       28   embodying the’416 and ’449 Patents to various representatives of major retailers,
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                        1   including Defendant. As part of those presentations, representatives of potential
                        2   retailer clients were provided with pictures of products embodying the ’416 and ’449
                        3   Patents and informed that those designs were patent protected.
                        4         16.    Kelemer did not reach an agreement with Defendant for the distribution
                        5   of the products.
                        6   B.           DEFENDANT’S UNLAWFUL CONDUCT.
                        7         17.    Instead of licensing Kelemer’s patents, Defendant simply copied the
                        8   designs and started selling knock-off foldable chairs, thereby intentionally and
                        9   willfully infringing Kelemer’s ’416 and ’449 Patents.
                       10         18.    Defendant has infringed and is currently infringing the ’416 and ’449
                       11   Patents in violation of 35 U.S.C. § 271 by making, having made, using, selling,
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                       12   and/or offering for sale, within the United States, products embodying the designs
                       13   claimed in the ’416 and ’449 Patents, including, without limitation, foldable chairs
                       14   with completely upholstered backs, the back cushion flush with the bottom cushion,
                       15   curved and slightly tapered rear legs, slightly tapered front legs, and beveled
                       16   cushions, as are described and claimed in one or both of the ’416 and ’449 Patents.
                       17         19.    Defendant’s products infringing upon the ’416 Patent include, by way
                       18   of example and without limitation, the “Parson’s hardwood folding chair in expresso
                       19   finish and Jax fabric (Brown)” contained in the Stakmore product line (the “’416 and
                       20   ’449 Infringing Product”).
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                        2                   ’416 Patent                       ’416 and ’449 Infringing Product
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                       17                                          COUNT I
                       18                          INFRINGEMENT OF ’416 PATENT
                       19                                  UNDER 35 U.S.C. § 271
                       20          20.    Kelemer repeats paragraphs 1-20, above, and incorporates the
                       21   allegations thereof as if set forth herein in their entirety.
                       22          21.    Defendant has infringed and is currently infringing ’416 Patent in
                       23   violation of 35 U.S.C. § 271 by making, having made, using, selling, and/or offering
                       24   for sale, within the United States, products embodying the design claimed in the ’416
                       25   Patent. Defendant’s infringing products including, by way of example and without
                       26   limitation, the “Parson’s hardwood folding chair in expresso finish and Jax fabric
                       27   (Brown)” contained in the Stakmore product line.
                       28          22.    Defendant had actual knowledge of the ’416 Patent and Kelemer’s
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                        1   patented products.
                        2          23.    Defendant’s infringement of the ’416 Patent has been and continues to
                        3   be willful and deliberate.
                        4          24.    Kelemer has been injured and damaged, and will continue to be injured
                        5   and damaged, by Defendant’s infringement of the ’416 Patent.            Defendant’s
                        6   infringement has caused, and will continue to cause, irreparable harm to Kelemer
                        7   unless and until enjoined by this Court.
                        8                                          COUNT II
                        9                          INFRINGEMENT OF ’449 PATENT
                       10                                  UNDER 35 U.S.C. § 271
                       11          25.    Kelemer repeats paragraphs 1-20 above, and incorporates the
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                       12   allegations thereof as if set forth herein in their entirety.
                       13          26.    Defendant has infringed and is currently infringing the ’449 Patent in
                       14   violation of 35 U.S.C. § 271 by making, having made, using, selling and/or offering
                       15   for sale, within the United States, products embodying the design claimed in the ’449
                       16   Patent. Defendant’s infringing products include, by way of example and without
                       17   limitation, the “Parson’s hardwood folding chair in expresso finish and Jax fabric
                       18   (Brown)” contained in the Stakmore product line.
                       19          27.    Defendant’s had actual knowledge of the ’449 Patent and Kelemer’s
                       20   patented products.
                       21          28.    Defendant’s infringement of the ’449 Patent has been and continues to
                       22   be willful and deliberate.
                       23          29.    Kelemer has been injured and damaged, and will continue to be injured
                       24   and damaged, by Defendant’s infringement of the ’449 Patent.            Defendant’s
                       25   infringement has caused, and will continue to cause, irreparable harm to Kelemer
                       26   unless and until enjoined by this Court.
                       27                                  PRAYER FOR RELIEF
                       28          WHEREFORE, Plaintiff prays for judgment against Defendant, as follows:
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                        1         1.     That Defendant has willfully infringed the’416 and ’449 Patents;
                        2         2.     That an accounting be had for the damages caused to Plaintiff by
                        3   Defendant’s infringing activities, and that such damages, including damages for lost
                        4   profits and/or reasonable royalty in an amount not known at this time, which amount
                        5   should be trebled under 35 U.S.C. § 284, with interest, be awarded to Plaintiff;
                        6         3.     That Plaintiff be granted preliminary and permanent injunctive relief
                        7   restraining and enjoining Defendant and their agents, servants, employees, and all
                        8   persons acting thereunder, in concert with, or on its behalf, from infringing the ’416
                        9   and ’449 Patents, including without limitation restraining and enjoining the making,
                       10   advertising, marketing, using, importing, selling, and/or offering to sell the ’416 and
                       11   ’449 Infringing Products;
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                       12         4.     That the Court enter an order declaring that such damages and other
                       13   monetary relief not be dischargeable through bankruptcy or otherwise;
                       14         5.     That this be adjudged an exceptional case and that Plaintiff be awarded
                       15   her attorneys’ fees and costs in this action pursuant to 35 U.S.C. § 285; and
                       16         6.     That Plaintiff be awarded such further relief as the Court may deem
                       17   equitable and just.
                       18                               JURY TRIAL DEMANDED
                       19         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff Linda
                       20   Kelemer hereby demands trial by jury on all issues.
                       21
                       22   DATED: February 15, 2022                      RUSS, AUGUST & KABAT
                                                                          Marc C. Fenster
                       23                                                 Nathan D. Meyer
                                                                          Timothy M. Baumann
                       24
                       25                                                 By: /s/ Marc C. Fenster
                                                                              Marc C. Fenster
                       26                                                     Attorneys for Plaintiff
                                                                              Linda Kelemer
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                                                  COMPLAINT FOR PATENT INFRINGEMENT
